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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

KUM NAM LEE,

                                Plaintiff,
                                                                 21-CV-8265 (LTS)
                    -against-
                                                                CIVIL JUDGMENT
PROLAND MANAGEMENT,

                                Defendant.

         Pursuant to the order issued November 15, 2021, dismissing the complaint,

         IT IS ORDERED, ADJUDGED AND DECREED that the complaint is dismissed without

prejudice under Rule 41(b) of the Federal Rules of Civil Procedure for failure to comply with the

Court’s order.

         The Court certifies under 28 U.S.C. § 1915(a)(3) that any appeal from the Court’s

judgment would not be taken in good faith.

         IT IS FURTHER ORDERED that the Clerk of Court mail a copy of this judgment to

Plaintiff and note service on the docket.

SO ORDERED.

Dated:     November 15, 2021
           New York, New York

                                                      /s/ Laura Taylor Swain
                                                            LAURA TAYLOR SWAIN
                                                        Chief United States District Judge
